          Case 1:95-cr-00942-JPC Document 392 Filed 12/14/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                             12/14/2020

 RONALD OCASIO,
                                 Movant,                        20-CV-9733 (JPC)

                     -against-                                 95-CR-0942-1 (JPC)
 UNITED STATES OF AMERICA,                            ORDER TO ANSWER, 28 U.S.C. § 2255
                                 Respondent.

JOHN P. CRONAN, United States District Judge:

       The Court, having concluded that the motion brought under 28 U.S.C. § 2255 should not

be summarily dismissed as being without merit, hereby ORDERS that:

       The Clerk of Court shall electronically notify the Criminal Division of the U.S. Attorney’s

Office for the Southern District of New York that this order has been issued.

       Within sixty days of the date of this order, the U.S. Attorney’s Office shall file an answer

or other pleadings in response to the motion. Movant shall have thirty days from the date on which

Movant is served with Respondent’s answer to file a response. Absent further order, the motion

will be considered fully submitted as of that date.

       All further papers filed or submitted for filing must include the criminal docket number

and will be docketed in the criminal case.

SO ORDERED.

 Dated:    December 14, 2020
           New York, New York

                                                               JOHN P. CRONAN
                                                            United States District Judge
